     Case 3:20-cv-00289-MAB Document 1 Filed 03/18/20 Page 1 of 5 Page ID #1




3044457-LRB/PCN

                IN THE UNITED STATES DISTRICT COURT FOR THE
               SOUTHERN DISTRICT OF ILLINOIS, BENTON DIVISION

THOMAS NEWTON GORDON, Sr.                      )
                                               )
                       Plaintiff,              )
                                               )
                                               )      Court No. 20 cv 289
v.                                             )
                                               )
RAMON GUERRERO and                             )
SYSTEM TRANSPORT INC.,                         )
                                               )
                               Defendants.     )

       DEFENDANTS RAMON GUERRERO AND SYSTEM TRANSPORT, INC.S’
        NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1332, 1441, and 1446

        NOW COME the Defendants, RAMON GUERRERO and SYSTEM TRANSPORT,

INC., by and through their attorneys, SmithAmundsen LLC, and remove this action to the United

States District Court for the Southern District of Illinois, Benton Division, pursuant to 28 U.S.C. §§

1332, 1441, and 1446, and in support thereof, the Defendants state as follows:

        1.     Defendants remove this case as a matter of right from the Circuit Court of

Williamson County, Illinois under and to District Court’s subject matter jurisdiction, as

conferred by 28 U.S.C. § 1332.

        2.     Removal is appropriate and must occur here because complete diversity of

citizenship exists between the plaintiff, Thomas Gordon (Florida), and both of the defendants

Guerrero (Arizona) and System Transport, Inc. (State of Washington).

        3.     Upon information and belief, the plaintiff, Thomas Newton Gordon, Sr., is currently

and was at the time of the subject accident a citizen and resident of the State of Florida. (See
   Case 3:20-cv-00289-MAB Document 1 Filed 03/18/20 Page 2 of 5 Page ID #2




Exhibit “A,” the plaintiff’s Complaint at Law, 2019 L 178, Circuit Court of Williamson County,

Illinois (the State Court Action).)

        4.      Both at the time of the commencement of the State Court Action and at the present

time, defendant Ramon Guerrero was and is a citizen of the State of Arizona with a permanent

residence at 1695 West Cochran Street, Tucson, AZ 85746. (See Ex. A, at ¶ 2.)

        5.      Defendant System Transport, Inc. is a corporate citizen of the State of Washington.

The Federal Code of Civil Procedure fixes corporate citizenship in: (1) every state where an entity is

incorporated; and (2) the state of the entity’s principal place of business. See 28 U.S.C. § 1332. The

term “principal place of business” is:

        […]the place where “a corporation's officers direct, control, and coordinate the
        corporation's activities. It is the … corporation's ‘nerve center.’ And in practice it
        should normally be the place where the corporation maintains its headquarters—
        provided that the headquarters is the actual center of direction, control, and
        coordination, i.e., the ‘nerve center,’ and not simply an office where the corporation
        holds its board meetings (for example, attended by directors and officers who have
        traveled there for the occasion).

Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010).

        6.      Both at the time of the commencement of the State Court Action and at the present

time defendant System Transport, Inc. was and is a Washington corporation with its principal place

of business and headquarters located in Cheney, Washington. (See Exhibit “B,” Washington

Secretary of State Business Corporate Page and the Locations Web Page identifying the

Headquarters for System Transport, Inc. at https://systemtrans.com/locations/ and attached as

Exhibit “C.”)

        7.      Complete diversity of citizenship therefore exists between the plaintiff and each

Defendant in this matter pursuant to 28 U.S.C. § 1332.




                                                  2
   Case 3:20-cv-00289-MAB Document 1 Filed 03/18/20 Page 3 of 5 Page ID #3




        8.      The motor vehicle accident underlying this case occurred in Williamson County,

Illinois upon I-57 at or near its mile marker number 60 on July 16, 2019. (See generally Ex. A, at ¶

2.) On December 30, 2019, the plaintiff filed this lawsuit against the defendants in the Circuit Court

of Williamson County. (See generally Ex. A, styled Thomas Newton Gordon, Sr. v. System

Transport, Inc. & Ramon Guerrero, Case No. 2019-L-178.)

        9.      The plaintiff’s State Court filing describes purported “significant physical and

emotional injuries […]” and “pain” resulting from the accident, which allegedly necessitated the

“services of hospitals, physicians, medical technicians and other medical personal for treatment,

medications, and other medical services thereby incurring medical expenses” and the alleged need

for “additional medical care in the future” from the accident. (See Ex. A, ¶ 25-28.) The plaintiff

also affixed an affidavit to the Complaint verifying his attorneys’ belief that the case value exceeds

the $50,000.00 jurisdictional minimum of the Williamson County Law Division. (See Exhibit “A”

at p. 9 – Supreme Court Rule 222 Affidavit.)

        10.     Given the nature of these allegations the movants/defendants believe in good faith

the amount in controversy exceeds this Court’s $75,000.00 jurisdictional threshold, exclusive of

interest and costs.

        11.     The plaintiff sent copies of the State Court Action to System Transport, Inc.’s

corporate headquarters in Cheney, Washington via Registered Mail on March 5, 2020 (See

Registered Mail “Green Card” attached as Exhibit “D.”)

        12.     The defendants timely filed this Notice of Removal “within thirty days after the

receipt by the defendant, through service or otherwise, of a copy of the initial pleading setting forth

the claim for relief […]” 28 U.S.C. § 1446(b).




                                                  3
   Case 3:20-cv-00289-MAB Document 1 Filed 03/18/20 Page 4 of 5 Page ID #4




       13.        The defendants/movants will promptly serve a true and correct copy of this Notice

upon the plaintiff’s counsel and file the same with the Circuit Court of Williamson County, as

required by 28 U.S.C. § 1446(d).

       14.        Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of all process, pleadings,

and orders served upon the defendants in this action is attached hereto as Exhibit “E.”

       15.        By removing this action, the defendants do not waive any defenses available to

either of them.

       16.        Should any questions or concerns arise as to the propriety of removing this action to

the District Court’s jurisdiction, the movants/defendants request the opportunity to present a brief

and conduct oral argument in support of their position that removal from the Circuit Court of

Williamson County, Illinois to the United States District Court for the Southern District of Illinois in

Benton, Illinois is appropriate under the circumstances.

       17.        This Notice is signed and submitted in compliance with Rule 11 of the Federal Rules

of Civil Procedure.

       WHEREFORE, Defendants, RAMON GUERRERO and SYSTEM TRANSPORT, INC.,

by and through their attorneys, SmithAmundsen LLC, pray that this Honorable Court retain

jurisdiction of the matter pursuant to 28 U.S.C., §§ 1332, 1441, and 1446. Movants further pray that

should this Court require a hearing that they be afforded the opportunity to present a brief and oral

argument in support of their position. Defendants pray for further and other relief as this Court

deems proper and just.

                                                Respectfully Submitted,


                                                s/Lew R.C. Bricker
                                                Lew R.C. Bricker – Bar Number: 6206641




                                                    4
  Case 3:20-cv-00289-MAB Document 1 Filed 03/18/20 Page 5 of 5 Page ID #5




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